                Case 15-11880-BLS          Doc 176      Filed 09/29/15      Page 1 of 1


                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


In re                                                      Chapter 11

Quiksilver, Inc., et al.,                                  Case No.: 15-11880 (BLS)
                                                           (Jointly Administered)
                            Debtors.

                    MOTION AND ORDER FOR ADMISSION PRO HAC VICE
        Pursuant to Local Rule 9010-1 and the below certification, counsel moves the admission pro hac
vice of Cathy Hershcopf, Esquire to represent the Official Committee of Unsecured Creditors, in the
above-captioned cases.

Dated: September 22, 2015                       /s/ Justin R. Alberto
       Wilmington, Delaware                     Justin R. Alberto (No. 5126)
                                                BAYARD, P.A.
                                                222 Delaware Avenue, Suite 900
                                                Wilmington, Delaware 19801
                                                Telephone: (302) 655-5000
                                                Facsimile: (302) 658-6395
                                                Email: jalberto@bayardlaw.com


              CERTIFICATION OF COUNSEL TO BE ADMITTED PRO HAC VICE
        Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am
admitted, practicing and in good standing as a member of the Bar of the State of New York and submit to
the disciplinary jurisdiction of this Court for any alleged misconduct, which occurs in the preparation or
course of this action. I also certify that I am generally familiar with this Court’s Local Rules and with
Standing Order for District Court Fund effective 3/25/14. I further certify that the annual fee of $25.00
has been paid to the Clerk of Court for District Court.

                                                /s/ Cathy Hershcopf
                                                Cathy Hershcopf
                                                COOLEY LLP
                                                1114 Avenue of the Americas
                                                New York, New York 01136
                                                Telephone: (212) 479-6000
                                                Facsimile: (212) 479-6275
                                                Email: chershcopf@cooley.com

                                       ORDER GRANTING MOTION

        IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.




        Dated: September 29th, 2015                   BRENDAN L. SHANNON
        Wilmington, Delaware                          UNITED STATES BANKRUPTCY JUDGE
